            Case 1:21-cv-00255-LY Document 11 Filed 06/04/21 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00255-LY
             Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 PERFUMANIA.COM, INC.,

              Defendant.

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant Perfumania.com, Inc. in the within action WITHOUT PREJUDICE. Perfumania.com,

Inc. has not served an answer or a motion for summary judgment.

Dated: June 4, 2021                                  Respectfully submitted,

                                                     /s/ Andrew S. Curfman
                                                     Andrew S. Curfman (Pro hac vice pending)
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                                                     ATTORNEYS FOR PLAINTIFF
          Case 1:21-cv-00255-LY Document 11 Filed 06/04/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on June 4, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                    /s/ Andrew S. Curfman
                                                    Andrew S. Curfman




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